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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Orale Motor Sport, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      6 – 2     1   4    7   3    4   5
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  5500 Yale St
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Houston, TX 77091-5750
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                  Harris                                                        Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      Orale Motor Sport, LLC                                                                               Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




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Debtor        Orale Motor Sport, LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this    Check all that apply:
      district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       ❑
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have      ✔ No
                                       ❑
      possession of any real
      property or personal property
                                       ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?                                 ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                 ❑     It needs to be physically secured or protected from the weather.
                                                 ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                       options).
                                                 ❑     Other
                                                 Where is the property?
                                                                            Number         Street




                                                                            City                                           State       ZIP Code
                                                 Is the property insured?
                                                 ❑ No
                                                 ❑ Yes.        Insurance agency
                                                               Contact name
                                                               Phone

          Statistical and administrative information

         13. Debtor’s estimation of    Check one:
             available funds?          ❑ Funds will be available for distribution to unsecured creditors.
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       ❑
                                          creditors.

         14. Estimated number of
                                        ✔
                                        ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                  ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                        ✔
                                        ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                        ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                        ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                        ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




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Debtor        Orale Motor Sport, LLC                                                                                Case number (if known)
             Name



                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ✔
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     04/14/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Patrick Rush                                                     Printed name
                                                                                                                                              Patrick Rush
                                                    Signature of authorized representative of debtor


                                                    Title                    General manager



         18. Signature of attorney
                                                ✘                         /s/ Reese Baker                              Date      04/14/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Reese Baker
                                                    Printed name

                                                     Baker & Associates
                                                    Firm name

                                                     950 Echo Ln Ste 300
                                                    Number          Street


                                                     Houston                                                              TX              77024-2824
                                                    City                                                                 State            ZIP Code



                                                                                                                           courtdocs@bakerassociates.net
                                                    Contact phone                                                         Email address



                                                     11095395                                                              TX
                                                    Bar number                                                            State




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                      ADT Security
                      Po Box 371878
                      Pittsburgh, PA 15250-7878




                      Alert 360
                      8831 N Sam Houston Pkwy W
                      Houston, TX 77064-5601




                      Ana V. Chavarria
                      2111 Austin St Apt 226
                      Houston, TX 77002-8954




                      City of Houston Water Dept.
                      Po Box 4863
                      Houston, TX 77210-4863




                      Comcast
                      1 Comcast Ctr
                      Philadelphia, PA 19103-2838




                      David Bryant, Jr.
                      2751 S Loop 336 W B
                      Conroe, TX 77304-3710




                      Elizabeth Murphy
                      10718 Jordan Heights Dr
                      Houston, TX 77016-6568




                      Gean Franco Mascarutti
                      3333 Cummins St Apt 1302
                      Houston, TX 77027-5819
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                      Harris County, Et Al - 2019 -
                      2020
                      Po Box 3547
                      Houston, TX 77253-3547



                      Houston Independent School
                      District
                      P.O. Box 4668
                      Houston, TX 77210



                      Irael Rodriguez
                      3333 Cummins St Apt 1302
                      Houston, TX 77027-5819




                      Jesus Rodriguez
                      3333 Cummins St Apt 1302
                      Houston, TX 77027-5819




                      Noel Hernandez
                      c/o Mary Alice Parsons
                      4545 Bissonnet St Ste 104
                      Bellaire, TX 77401-3008



                      Reliant Energy
                      Po Box 650475
                      Dallas, TX 75265-0475




                      Irael Rodriguez
                      3333 Cummins St Apt 1302
                      Houston, TX 77027-5819




                      Patrick Rush
                      2111 Austin St Apt 226
                      Houston, TX 77002-8954
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                      State of Texas Comptroller
                      111 E 17th St
                      Austin, TX 78774-1440




                      Summer Investments
                      3333 Cummins St Apt 1302
                      Houston, TX 77027-5819




                      The Parsons Law Firm
                      4545 Bissonnet St Ste 104
                      Bellaire, TX 77401-3008




                      Waste Management
                      Credit Department
                      1000 E. Noa Red Bluff
                      Houston, TX 77034
